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18
                              UNITED STATES DISTRICT COURT
19                          NORTHERN DISTRICT OF CALIFORNIA
                                (SAN FRANCISCO DIVISION)
20

21   In re:                                           Master File No.: 3:16-md-02691-RS
22
     VIAGRA (SILDENAFIL CITRATE) AND                  ORDER GRANTING SUMMARY
23   CIALIS (TADALAFIL) PRODUCTS                      JUDGMENT AND ENTERING
     LIABILITY LITIGATION                             FINAL JUDGMENT IN FAVOR OF
24
                                                      DEFENDANTS
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26   This Document Relates to: ALL ACTIONS

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         PROPOSED ORDER GRANTING SUMMARY JUDGMENT AND ENTERING FINAL JUDGMENT
                                  CASE NO. 16-md-02691-RS
              Case 3:16-md-02691-RS Document 1021 Filed 04/08/20 Page 2 of 2



 1           Having reviewed the parties Joint Statement Regarding Daubert Order and Summary

 2   Judgment (“Joint Statement”), the Court hereby finds and orders as follows:

 3      1.    On January 13, 2020, the Court entered an Order Granting in Part and Denying in Part

 4   Motions to Exclude Expert Testimony [DE 1012] (“Daubert Order”). In the Daubert Order, the

 5   Court granted in part the Daubert motions of Defendants Pfizer Inc. and Eli Lilly and Company,

 6   excluding the general causation opinions of Plaintiffs’ experts. Daubert Order at 21.

 7      2. In light of the Daubert Order, the parties agree, and the Court finds, that Defendants are

 8   entitled to and hereby are granted summary judgment in their favor as to all of Plaintiffs’

 9   claims. See Nelson v. Matrixx Initiatives, Inc., 592 F. Appx. 591, 592 (9th Cir. 2015) (“General

10   and specific causation” “must be proven within a reasonable medical probability based upon

11   competent expert testimony.”); Cox v. Depuy Motech, Inc., 2000 WL 1160486, at *7 (S.D. Cal.

12   March 29, 2000) (“Because plaintiff does not have an expert who can establish medical

13   causation, an essential element of a products liability claim, plaintiff cannot withstand

14   defendant’s motion for summary judgment on the issue of causation.”); see also In re Zoloft

15   Prods. Liab. Litig., 858 F.3d 787, 800 (3d Cir. 2017) (affirming exclusion of general causation

16   expert and entry of summary judgment).

17      3. Nothing in this Order shall be construed as a waiver of Plaintiffs’ or Defendants’

18   appellate rights regarding the Daubert Order, and nothing in the Joint Statement should be

19   construed as a waiver of any argument that the Plaintiff may have on appeal or in any further

20   proceeding in this matter.

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22           IT IS SO ORDERED.

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     Dated: April 8, 2020                          _________________________________
24                                                 HONORABLE RICHARD SEEBORG
                                                   UNITED STATES DISTRICT JUDGE
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         PROPOSED ORDER GRANTING SUMMARY JUDGMENT AND ENTERING FINAL JUDGMENT
                                  CASE NO. 16-md-02691-RS
